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                                                                                           FILED
                                                                                       U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT ARKANSAS
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                                                 JAN 1 5                             2021
                                NORTHERN DIVISION          JAMESW.
                                                                                 By:_77.-w;~~~~
SHA VONDA SMITH

VS.                             NO.

PAXTON MEDIA GROUP, LLC; and
DAVID M. PAXTON, President and CEO,
Individually and in his official capacity                 This case assign ed to Disttff. §E DANTS
                                                            d                              U ge  r!/40~ 1.u-, .
                                                          an to Magistra te Judge _ _ _-.:J't!L_ _ _ __r,{Vf/Yl

  VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND
 DAMAGES FROM RACKETEERING, CONSPIRACY TO ENGAGE IN A PATTERN
 OF RACKETEERING ACTIVITY, RELATED CLAIMS, SPECIFIC PERFORMANCE
            AND DISCRIMINATION PURSUANT TO 42 U.S.C § 1981

        Comes Plaintiff, Shavonda Smith ("S mith"), by and through her attorney, Larry J. Steele,

and for her Verified Complaint for Declaratory and Injunctive Relief and Damages From

Racketeering, Conspiracy to Engage in a Pattern of Racketeering Activity, Related Claims,

Specific Performance and Di scrimination pursuant to 42 U.S.C. § 1981 , states:

                                   JURISDICTION AND VENUE

        1.      This Honorable Court has original jurisdiction pursuant to the Civil RICO remedies

at 18 U.S.C. §§ 1964, and the holdings of the U.S. Supreme Court in Taffiin v. Levitt, 493 U.S.

455 (1990). This Honorable Court also has jurisdiction pursuant to 42 U.S.C. § 1981 and 28 U.S.C.

§ 1322(a).

       2.       "Except as provided in subsections (b) and (c) or as expressly provided otherwise

by federal statute, in any civil action of which the district courts have original jurisdiction, the

district courts shall have suppl emental jurisdiction over all other claims that are so related to claims

in the action within such original jurisdiction that they form part of the same case or controversy
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under Article III of the United States Constitution. Such supplemental jurisdiction shall include

claims that involve the joinder or intervention of additional parties." 28 U .S.C. § 1367(a). Many of

the state law claims asserted herein by Plaintiff as hereinafter set forth can be heard by this Court

as a matter of supplemental jurisdiction .

       3.      This Cowi has jurisdiction over the subject matter of this action pursuant to 28 USC

§ 1332(a) because the matter in controversy exceeds the jurisdictional threshold, exclusive of costs,

it is between citizens of different states, and because the Defendants have certain minimum

contacts with the State of Arkansas such that the maintenance of the suit in this district does not

offend traditional notions of fair play and substantial justice.

       4.      Venue in the United States District Court for the Eastern District of Arkansas,

Northern Division, is proper pursuant to 28 USC § 1391(a)(2) because a substantial part of the

events or omissions giving rise to Plaintiff's claims and causes of action occurred in this judicial

district, and because Defendants were subject to personal jurisdiction in this judicial district at the

time of the commencement of this action.

       5.      Plaintiff is entitled to relief for racial discriminatory acts, fraud , breach of contract,

pursuant to 42 U.S.C. § 1981. Plaintiff also states a cause of action against the Defendants for

violating the Arkansas Civil Rights Act.

       6.      42 U.S.C. § 1981 states that all persons within the jurisdiction of the United States

shall have the same right in every State and Territory to make and enforce contracts, to sue, be

parties, give evidence, and to the full and equal benefit of all laws and proceedings for the security

of persons and property as is enjoyed by white citizens, and shall be subject to like punishment,

pains, penalties, taxes, licenses, and exactions of every kind, and to no other.




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                        STATEMENT OF FEDERAL JURISDICTION

       7.      This is a civil action under 18 USC §1964)(a)(c)("Civil RICO" for Racketeer

Influenced and Corrupt Organizations Act ("RICO") remedies authorized by 18 U.S .C. § 1961, et

seq., for declaratory and injunctive relief, for actual, consequential and exemplary damages, and

for all other relief, both legal and equitable, which this Court deems just and proper under all

circumstances which have occasioned this Complaint. This Court has subject matter jurisdiction

to enter a declaratory judgment under 28 USC§ 2201 et seq. as part of the reliefrequested.

       8.      The primary cause of thi s Civil RICO action and basis for requested relief is a

criminal enterprise of which Defendants were members engaged in a pattern of racketeering

activity across state lines, and formati on of a conspiracy to engage in racketeering activity

involving numerous RICO predicate acts committed during the past ten (10) calendar years.

       9.      Defendants were at all rel evant times members of "an association in fact" existing

in conspiratorial and illegal purpose.

       10.     The predicate acts alleged here involving Defendants cluster around promoting

fraud , breach of contract, and race discrimination in Craighead Coun_ty, Arkansas, eventually

resulting in intimidation by Defendants and/or agents of Defendants of Plaintiff Smith regarding

Smith Contract with Defendants Paxton Media and David M. Paxton as a means of further

harassment and intimidation of Smith. Defendants' agents' conduct included, but was not limited

to, failure to pay Contract fe es owed to Plaintiff Smith while under contract. Such willful and

intentional acts caused Smith both physical pain and emotional damage to her suffering, and

invaded her privacy.

       11.     The primary objective of the racketeering enterprise has been to encourage Plaintiff

Smith to refrain from seeking fulfillment of the Contract agreement and inflict severe and sustained



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economic hardship upon Smith while she was under Contract, with the intent of impairing,

obstructing, preventing, and discouraging her from seeking damages from Defendants.

        12.    This Court has original jurisdiction of this action pursuant to the federal Civil RICO

act remedies at 18 U.S.C. §§ 1964 et seq., and the holdings of the U.S. Supreme Collli in Tafflin

v. Levitt, 493 U.S. 455 (1990).

        13 .   This Court has jurisdiction over the subject matter of this action under 28 U.S.C . §

13 31, 28 USC § 2201 et seq. and personal jurisdiction over the parties pursuant to Ark. Code Ann.

§ 16-4-101 and other applicable provisions of Arkansas law as (a) acts complained of took place

in Arkansas and Plaintiff Smith is a long-time resident of the State of Arkansas; (b) Defendant

Paxtom Media Group, LLC is a foreign for-profit Kentucky Limited Liability Company duly

organized and doing business under the laws of the State of Kentucky, and is in fact transacting

business for profit in the state of Arkansas, with an appointed agent for service of process who is

conducting for profit substantial regular business in this state.

        14.    Venue is established under 28 USC § 1965 and the corresponding provisions of

state law including but not limited to A.C.A. § 16-4-101 as the subject matter of this action is the

personal injury of the Plaintiff and loss of his property interest in his employment.

        15.    A civil RICO (Racketeer Influenced and Corrupt Organizations Act) action is

therefore alleged against Defendants, Paxton Media Group, LLC and David M. Paxton, not just

based on fraud .

                                  SUPPLEMENTAL JURISDICTION

        16.    "Except as provided in subsections (b) and (c) or as expressly provided otherwise

by Federal statute, in any civil action of which the district courts have original jurisdiction, the

district courts shall have supplemental jurisdiction over all other claims that are so related to claims



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in the action within such original jurisdiction that they form part of the same case or controversy

under Article III of the United States Con stitution. Such supplemental jurisdiction shall include

claims that involve the joinder or intervention of additional parties." 28 U.S.C. § 1367(a). Many

of the state law claims asserted herein by Plaintiff as hereinafter set forth can be heard by this

Court as a matter of supplemental jurisdiction.

       17.      This is a legal action seeking compensatory and punitive damages as well as

equitable remedies.

       18.      Plaintiff timely filed a Charge of Discrimination on the basis of race and retaliation

with the Equal Employment Opportunity Commission ("EEOC") and received a Notice of Suit

Rights on or about 10-21-2020, attached hereto as "Exhibit A. 11

                                             PARTIES

       19.     The Plaintiff is an African American citizen who resided in Jonesboro, Craighead

County, Arkansas at all relevant times, but is now a resident of Fayetteville, Washington County,

Arkansas.

       20.     Defendant, Paxton Media Group, LLC ("Paxton Media"), is a foreign for-profit

Kentucky Limited Liability Company organi zed under the laws of the State of Kentucky, doing

business in Arkansas. At all relevant times, Paxton Media has been and is now doing business in

the State of Arkansas and the City of Jonesboro, and has continuously had and does now have at

least 80 employees. Paxton Media is a privately held media company with holdings that include

newspapers and TV station WPSD-TV in Paducah, Kentucky. The company owns at least 32 daily

newspapers and numerous weekly newspapers, mostly in the southern United States.

       21.     Defendant David M. Paxton, is President and CEO of Defendant Paxton Media.




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       22.     Defendant Paxton Media ' s registered agent for service is James Paxton , 201 South

4 1h Street, Paducah, Kentucky 42003.

                                            COUNT!
                                             (RICO)

       23.     This is a civil action for Racketeer Influenced and Corrupt Organizations Act

("RICO") remedies authorized by the federal statutes at 18 U.S.C. § 1961, et seq., for declaratory

and injunctive relief, for actual , consequential and exemplary damages, and for all other relief

which this Honorable Court deems just and proper under all circumstances which have occasioned

this Complaint, see 18 U .S.C. §§ 1964(a) and (c) ("Civil RICO"), including specific performance

and discrimination pursuant to 42 U.S .C. § 1981.

       24.     The primary cause of this action is a criminal enterprise engaged in a pattern of

racketeering activity across state lines, and a conspiracy to engage in racketeering activity

involving numerous RICO predicate acts during the past ten (10) calendar years.

       25 .    Defendants were at all relevant times an association in fact existing in purpose.

       26.     The predicate acts alleged here cluster around fraud and breach of contract in the

delivery of newspapers, specifically, the contract, intimidation of witnesses, tampering with

evidence, harassment by physical confrontation of witnesses, and obstruction of justice.

       27.     The primary objective of the racketeering enterprise has been to inflict severe and

sustained economic hardship upon Pl aintiff, with the intent of impairing, obstructing, and

preventing Plaintiff from receiving benefits, income, based on the contract.

                                             FACTS

       28.     Plaintiff Smith signed an Independent Contractor Distributor Agreement

("Contract") with Defendant Paxton Media, as an independent contractor distributor on January

21 , 2020, delivering The Sun newspaper in Jonesboro, Craighead County, Arkansas, and

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surrounding counties, as well as contracts to deliver papers on separate routes. (Exhibits B, C, D

andE)

        29.      Beginning in the middle of February 2020 the publisher, Defendant Paxton Media,

began cheating Plaintiff Smith on her pay under the Contracts.

        30.      Every week since the middle of February 2020, Defendant Paxton Media has

broken the agreement regarding pay for delivery although Plaintiff demanded payment.

        31.      Several white newspaper distributors complained and were repaid the shortages

they were due.

        32.      Plaintiff Smith has been discriminated against based on her pay under the Contract

because of her race, African American .

        33.      As a direct and proximate result of the breach of the Contract by Defendant Paxton

Media, and conduct of the Defendant, David M. Paxton, President and CEO , Plaintiff has been

injured monetarily, approximately $14,000.00. Plaintiff is entitled to recover treble damages from

Defendants, pursuant to RICO , more particularly described.

        34.      Although Plaintiff Smith fulfilled the terms of her Contract with Defendant Paxton

Media, to date, Defendants Paxton Media and David M . Paxton have willfully failed to fulfill the

terms of the Contract.

        35.      Any act done or declaration made by or of the conspirators in furtherance, aid or

preparation of the alleged conspiracy may be shown as evidence against his or her fellow

conspirators.

        36.      Defendants Paxton Media and David M . Paxton, President and CEO , were, are, an

association in fact existing as an enterprise for the purpose of performing illegal acts as more fully

described.



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        37.    Plaintiff seeks equitable as well as legal relief from said enterprise, from

Defendants Paxton Media, David M. Paxton, President and CEO, and his agents, Defendants Tom

Smith and Leslie Prouin, Publishers/Representatives.

        38.    An element of a RICO relation ship exists between the Defendants and the

enterprise, specifically, fraud and intimidation. 18 U.S.C.A. § 1962 (a-c).

        39.    Plaintiff is entitled to recover from Defendants prejudgment interest and attorney's

fees.

        40.    Defendant, David M. Paxton, gave Tom Smith, Circulation Manager/Home

Delivery Manager, and Leslie Prouin, Representative, authority as his agents and attorneys in fact,

on behalf of Paxton Media Group, LLC, elected to breach the Contracts.

                                              COUNT II
                                          (42 U.S.C. § 1981)

        41.    Plaintiff incorporates herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

        42.    Arkansas Code Annotated§ 5-71-208, Harassment, states:

               (a)     a person commits the offense of harassment if, with purpose to
               harass, annoy, or alarm another person, without cause, he or she:

               (5)     engages in conduct or repeatedly commits an act that alarms or
               seriously annoys another person and that serves no legitimate purpose.

        43.    Plaintiffs should have damages for Defendants conduct described , in an amount

more than is required for federal court diversity jurisdiction.

        44.    But for racial animus, Defendants Paxton Media and David M. Paxton would have

honored the Contract with Plaintiff Smith.




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          45.    Plaintiff Smith's activities include the right to "make and enforce contracts as

enjoyed by white citizens." Comcast v. Nat 'l Ass 'n ofAfrican Am.-Owned Media, 140 S. Ct. 1009

(2020).

          46.    Plaintiff Smith ' s 42 U.S.C. § 1981 race discrimination claim has a contractual

interest as its basis. Comcast, supra.

          47.    Plaintiff Smith has proven intentional racial discrimination by Defendants as

follows:

                 A.     she is a member of a racial minority; and

                 B.     she was discriminated against within a particular group of activities within

                        the statute, the right to make and enforce contracts as is enjoyed by white

                        citizens.

                                                COUNT III
                                           (Specific Performance)

          48.    Plaintiff incorporates herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein .

          49.    Plaintiff requests the Court enter an Order requiring Defendants to comply with and

specifically perform the terms of the contract, the subject of this action.

          WHEREFORE, pursuant to 18 U .S.C. § 1964 (a) and (c), Plaintiff requests judgment

against all named Defendants as follows:

          That this Court find that all Defendants, both jointly and severally, have acquired and

maintained, both directly and indirectly, an interest in and/or control of a RICO enterprise of

persons and of other individuals who were associ ated in fact , all of whom engaged in and whose

activities did affect interstate and foreign commerce in violation of 18 U.S.C. § 1962 (b );




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        That judgment be entered for Plaintiff and against all Defendants for Plaintiffs actual

damages, and for any gains, profits or advantages attributable to all violations of 18 U.S.C. § 1962

(b ), according to the proof;

       That all Defendants pay to Plaintiff treble damages under authority of 18 U .S.C. § 1964

(c), for any gains, profits, or advantages attributable to all violations of 18 U.S.C . § 1962 (b),

according to the proof;

       That all Defendants pay to Plaintiff all damages sustained by Plaintiff in consequences of

Defendants several violations of 18 U.S .C. § 1962 (b ), according to the proof;

       That all Defendants pay to Plaintiff her costs of the lawsuit incurred herein, including, but

not limited to, all necessary research, all nonjudicial enforcement, and reasonable attorney's fees

at a minimum of $250.00 per hour worked which is Plaintiffs counsel's standard professional rate;

       Plaintiff requests the Court enter an Order requiring Defendants to comply with and

specifically perform the terms of the contract, the subject of this action; and

       Grant such other and further relief as is equitable and just.

                                   JURY TRIAL DEMANDED

       Plaintiff requests a jury trial on all questions of fact raised by this Complaint.

                                                      Respectfully submitted,

                                                      LARRY J. STEELE PLC




                                              By~Jsrg(~
                                                      225 West Elm Street
                                                      P.O . Box 561
                                                      Walnut Ridge, AR 72476-0561
                                                      (870) 886-5840
                                                      (870) 886-5873 fax
                                                      Attorney for Plaintiff, Shavonda Smith

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                                         VERIFJ CATION


STATE OF ARKANSAS             )
                              )ss.
COUNTY OF RANDOLPH )

        I, SHA VONDA SM fT H, the undersigned, afte r b ing duly sworn , state on oath that the
facts and matters contained in the foregoin g Verified Cornplaint for Declarator}' and lnjunctive
Re lief and Damages From Rncketeering, Conspiracy to Engage in a Pattern of Racketeering
Acti vity, Related Claims, Specific Performance and Discrimination Pursuant to 42 U.S.C. § 1981
are true and correct to th e best of my knowledge, informati on and b lief




        On t h i s ~ day of January, 202 1, personally appeared before me, the under igncd, a
Nota1y PuhUc in and for the County an d State aforesaid, SHA VONDA SMlTH, to me well known
to be the person whose nam e a1 pears above, after be ing duly sworn stated tl1e fac ts and matters
contained in the foregoing Verified Complaint for Decl aratory and Injunctive Rel ief and Damages
From Racketeering, Conspiracy to Engage in a Pattern of Racketeering Activ ity, Related Claims,
Specific Performance and Discrimination Pursuanl to 42 U. S.C. , '1981 are true and correct to the
b st of her knowledge, infom1ation and beli ef.

My Commission :Expires:


                                     OFFICIAL SEAL - #12389103
                                           JANET A. STEELE
                                        N OTA RY PU B LI C -ARK ANSAS
                                            RAND O LP H CO UNTY
                                     MY COMM IS SION E XP IR ES : 09-25 -22




                                                  ll
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 EEOC Form 161 ( 11 /16)                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                     DISMISSAL AND NOTICE OF RIGHTS
To      Shavonda Smith                                                                    From      Little Rock Area Office
        3320 Caraway Commons Drive                                                                  820 Louisiana
        Jonesboro, AR 72404                                                                         Suite 200
                                                                                                    Little Rock , AR 72201



      D                        On behalf of person(s) aggrieved w/Jose identify is
                               CONFIDEN TIAL (29 CFR §1601 . 7(a))
 EE OC Cha rge No.                                 EEOC Rep rese nta tive                                                   Telep hone No .

                                                   Rita Barnes ,
 493-2021-00101                                    Enforcement Supervisor                                                   (501) 324-5552
 THE EEOC IS CLOSING ITS FILE ON THIS CHAR-GE FOR THE FOLLOWING REASON:
      D            The facts alleged in the charge fail lo state a claim under any of the statutes enforced by the EEO C.

      D            Your allegations did not involve a disab ility as defined by the Ame ri ca ns With Disabil ities Act.

      D            The Respondent employs less than the requi red numbe r of employees or is not oth erwise cove red by the statutes .

      D            Your charge was not timely filed with EEOC : in other words. you wa ited loo long after the date(s) of the alleged
                   discriminati on to file your charge
      D            The EEOC issues the fol low ing dete rmincJ tion Based upon its investigation. the EEO C is unable to conclude that the
                   informa tion obtained establishe s viola tions of tile statutes . This does not ce rtify tha t the responden t is in compl iance with
                   lhe statute s. No fi ndi ng is made as to any olller issues that might be con strued as having been raised by th is ch arge.
      D            The EEOC has adopted the find in gs of the state or local fa ir em ploym ent prac tices agency tha l investigated this charge .

                   Other (bri efly s tate)           Contract employee (self-employed)



                                                            - NOTICE OF SUIT RIGHTS -
                                                      (See the addition al information attached to this form.)

Title VII, the Americans with Disabilities Act , the Genetic Information Nondiscrim ination Act, or the Age
Discrimination in Employment Act: This will be the o nly not ic e of dismi ssal a nd of your righ t to s ue th at we w ill send you .
You may fi le a lawsuit aga ins t th e resp ondent( s ) under federa l law based o n this cha rge in federal or state cou rt. Yo ur
lawsui t must be filed WITHIN 90 DAYS of your rec e ip t of this notice ; or yo ur rig ht to sue based on this charg e w ill be
lost (The time limit for fili ng su it based on a claim under state law may be diffe re nt )


Equal Pay Act (EPA) : EPA su its must be filed in fede ral or state court w ithin 2 yea rs (3 yea rs for willful violations) o f the
alleg ed EPA unde rpayment Th is mean s that backpay due for any v iolations that occurred more than 2 years (3 years)
befo re you file suit may not be collectible.

                                                                        On behalf of the Commission

                                                                                                                           10-21-2020

 Enclosu res(s)                                                                                                                    (Dale Mailed)
                                                                     Will iam A . Cash , Jr.,
                                                                     Area Office Director
cc                                                                                                                                  EXHIBIT
             Eric Rudolph                                                                Larry Steele
             Vice-President
             PAXTON MEDIA GROUP
                                                                                         LARRY J STEELE PLC
                                                                                         PO BOX 561                         I          A
             201 South 4th Street                                                        Walnut Ridge , AR 72476
             Paducah, KY 42003
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                                                                       Jonesboro Sun -

                                                      Schedule of Wholesale Rates:
     Wholesale
       Rate                                        Publication Name                        Frequency                                        Route
$    .'11 oc>      per home-delive ry copy of       SUN           delivered as a         MTWTF                subscription on Route           72-
$    • (p 5~ Cf    per home-delivery copy of        SUN           . delivered as a       SFS                  subscription on Route           72-
$   .'-/f/1,(      per home-delivery copy of        SUN            delivered as a        SMTWTFS              subscription on Route           72.
$   .56/(p         per home-delivery copy of        SUN            dellvered as a        SM~                  subscription on Route           72
$   . So(}()       per home-delivery copy of        SUN            dellvered as a        s                    subscription on Route          72-    I

$   . Lfob 7       per home-delivery copy of        SUN            delivered as a        SMS                      subscription on Route       72-
$                  per home-delivery copy of                       dellvered as a                                 subscription on Route
$                  per home-delivery c~y of                        delivered as a                                 subscription on Route



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                                                                                         Publisher's Representative
                                                                                                                        4.
                                                                                                                               n •   "---




                                                                                                :1/JlLao           I
                                                                                         Date



                                                          NEA -

                                                 Schedule of Rates:
    Delivery Fee                                   Publication Name                       Route
$         0.0600 per home-de livery copy of         NEA124         del ivered on Route   NG.A-072..
$                  per home-delivery copy of                       delivered on Route

                                           .._


                                                                                         &~· [kc~
                                                                                         Publishe r's Representative


                                                                                             J/ a7 /1 u
                                                                                         Date     /



                                     fj_
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                    INDEPENDENT CONTRACTOR DISTRIBUTOR AGREEMENT
        Paxton Media Group _ __ _ _ _ _ ("Publisher"), and
("Distributor")have entered into the following contract and agreement ("Agreement"), m
consideration of their mutual promises and agreements.

       WHEREAS, Publisher may from time to time require the services of an independent
business enterprise to deliver the newspapers it publishes; and

       WHEREAS, Distributor warrants that he/she operates an independent business enterprise
which is capable of providing, and desires to prov ide, the aforementioned services to Publisher;

       NOW, THEREFORE, for and in consideration of the mutual promises, warranties and
undertakings of the parties, it is agreed as follows:

        1.      Distributor shall be primarily responsible for the satisfactory delivery of designated
publications and products in the nonexclusive territories which are listed on the Schedules which
are attached to this Agreement and which are incorporated herein by specific reference elsewhere in
this Agreement. Each territory is referred to herein as a "Route" and collectively as ''Routes". It is
agreed that Publisher may sell its newspapers directly to customers on Distributor's Routes.
Further, Publisher reserves the right to modify and change the Routes indicated on the Schedule(s)
upon at least thirty (30) days advance written notice to Distributor. Distributor agrees to deliver
newspapers received from Publisher as soon as practicable after the delivery of said newspapers
from Publisher to Distributor.

         2.          @ A*     0 NIA*

                (a)   Publisher agrees to sell and Distributor agrees to purchase as many copies of
Publisher's designated home delivery publications as Distributor shall require to fulfill the
obligations created by this Agreement, together with such additional quantities of such newspapers
as Distributor shall order from time to time. Title to newspapers shall pass from Publisher to
Distributor immediately upon Publisher's delivery of the newspapers to the mutually agreed-upon
pickup point, at which time Distributor assumes the risk of loss regarding damaged, destroyed,
stolen, lost or unsold newspapers and all credit risks respecting payments by persons served by
Distributor.

                (b)    Distributor agrees to purchase newspapers received by Distributor pursuant to
Paragraph 2(a), at the wholesale rates in effect at the time of sale. The wholesale rates which are in
effect at the time of the execution of this Agreement are indicated in the "Schedule of Wholesale
Rates," which is attached hereto and incorporated herein by this reference.

                (c)   Distributor agrees to pay in full for newspapers received from Publisher
pursuant to Paragraph 2(a) by the 10th day of each month . Failure to pay in full by the specified
date shall be deemed a material breach of this Agreement. A$~ service charge will be issued on
all returned checks, and payments thereafter must take the form of a money order or cashier's
check. It is agreed that Publisher shall have the ri ght to modify the wholesale price or rate for

* Check the "A"     box if the paragraph is applicable to the Distributor and the "NIA" box if the paragraph is not
applicable to the   Distributor
* Check the "A"     box if the paragraph is applicable to the Distributor and the "N IA" box if the paragraph is not
applicable to the   Distributor
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newspapers sold to Distributor under this Agreement from time to time, such modification to the
wholesale rate being effective thirty (30) days after notice of the rate change is given to Distributor.
On all accounts not paid by the due date, interest at a rate up to the amount permitted by applicable
state law may be charged from the due date to the date paid.

       3.      ~ A     •   NIA

        Publisher agrees to supply Distributor with copies of Publisher's designated home delivery
publications for distribution by Distributor pursuant to the terms of this Agreement. All
publications received by Distributor pursuant to this Paragraph 3 are and shall remain the exclusive
property of Publisher. Accordingly, Distributor shall have no risk of loss regarding such
publications and all credit risks respecting payments by customers for publications, if any, shall
remain with Publisher. However, nothing herein shall limit Distributor's liability to Publisher for
the value of publications which are damaged , destroyed, stolen or lost after receipt of such
publications from Publisher and prior to delivery by Distributor. Distributor agrees that Distributor
will not set the price, if any, of publications delivered pursuant to this Paragraph 3 and that
Distributor will not charge customers or anyone other than Publisher for the delivery of publications
pursuant to this Paragraph 3. Publisher shall pay Distributor the fees indicated in the " Schedule of
Delivery Fees," which is attached hereto and incorporated herein by this reference, for distribution
of home delivery publications by Distributor pursuant to this Paragraph 3. Publisher shall have the
right to modify the fees in the Schedule of Delivery Fees, any such change being effective upon
thirty (30) days advance written notice to Di stributor. The parties agree that Distributor's
remuneration under this Paragraph 3 is directl y related to Distributor's output rather than the
number of hours of work performed by Distributor.

       4.      l¼J A   •   NIA

        Publisher will from time to time designate products, such as post it notes and product
samples, for delivery on Distributor's Route(s) and Publisher will pay Distributor a fee, which shall
be determined and established by Publisher on an ongo ing basis, for each product delivered by
Distributor pursuant to this Paragraph 4. The parties agree that Distributor's remuneration under
this Paragraph 4 is directly related to Distributor's output rather than the number of hours of work
performed by Distributor.

       5.      [2 A    •   NIA

        Distributor recognizes that Publisher maintains contracts with other publishers regarding the
distribution of their publications and that Publi sher does not own such publications (collectively
"Non-owned Publications"). The Non-owned Publications, and the fee payable for the delivery of
each such publication, are listed on the Sched ul e of Non-owned Publications which is attached
hereto and incorporated herein by this reference . Publisher will from time to time designate Non-
owned Publications for delivery on Distributor's Route(s) and Publisher agrees to pay Distributor
the applicable delivery fee, indicated on the Schedule of Non-owned Publications, for each copy of
the applicable Non-owned Publication which Distributor delivers on the Route(s). Distributor
agrees to begin delivering any such designated Non-owned Publications on the Route(s)
immediately upon notification from Publisher that the Non-owned Publication has been designated
for delivery on the Route(s). All Non-owed Publications received by Distributor pursuant to this
Paragraph 5 are not and shall not be the property of Distributor and Distributor shall have no
                                                   2
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ownership interest in those publications. Accordingly, Distributor shall have no risk of loss
regarding such Non-owned Publications and shall have no credit risks respecting payments by
customers for Non-owned Publications, if any. However, nothing herein shall limit Distributor's
liability to Publisher for the value of Non-o'vvned Publications which are damaged, destroyed, stolen
or lost after receipt of such Non-owned Publications from Publisher and prior to delivery by
Distributor. Distributor agrees that Distributor will not set the price, if any, of Non-owned
Publications delivered pursuant to this Paragraph 5 and that Distributor will not charge customers or
anyone other than Publisher for the delivery of publications pursuant to this Paragraph 5. Publisher
shall have the right to modify the fees in the Schedule of Non-owned Publications, any such change
being effective upon thirty (30) days advance written notice to Distributor. The parties agree that
Distributor's remuneration under this Paragraph 5 is directly related to Distributor's output rather
than the number of hours of work performed by Distributor.

        6.      ~ A     •    NIA

        Distributor acknowledges receipt from Publisher of a list of locations where bundles of
newspapers (''Newspaper Bundles") are to be dropped ("Drop Locations"). Distributor agrees to
deliver all Newspaper Bundles to Drop Locations according to the terms of this Agreement. All
newspapers in Newspaper Bundles are and sha ll remain the exclusive property of Publisher and at
no time shall Distributor have title to those newspapers or Newspaper Bundles. However, nothing
herein shall limit Distributor's liability to Publisher fo r copies of newspapers and/or for Newspaper
Bundles, damaged, destroyed, stolen or lost after receipt of same by Distributor and before delivery
to Drop Locations. Distributor shall not impose any charge for delivery or other services related to
the distribution of Newspaper Bundles apart from the fees indicated in this paragraph which are
payable from Publisher to Distributor.

               $      , 50   per delivery to a Drop Location when there are between _I_ and
               ~      Drop Locations on the Route.

        6A.     DISTRIBUTOR agrees to purchase said newspapers for distribution in newspaper
racks from PUBLISHER at the wholesale rates of , '-I 5     per daily and j. /5     per Sunday
copy. It is agreed that DISTRIBUTOR will furnish locks for said newspaper racks located within
their APR.

        Publi sher shall have the right to modify the fee(s) set forth above, any such change being
effective upon thirty (14) days advance written notice to Distributor. The parties agree that
Distributor's remuneration under this Paragraph 6 is directly related to Distributor's output rather
than the number of hours of work performed by Distributor. Distributor shall also pick up and
deliver to Publisher unsold newspapers being returned to Publisher by single copy distributors.

        7.      Distributor will provide, at hi s/her own ex pense, a substitute of Distributor 's choice
capable of performing the obligations of Distri butor hereunder in the event of Distributor' s illness,
disability or absence, or if for any other reason Distributor is unable to perform his/her
responsibilities under this Agreement. Additionally, Distributor agrees not to assign this Agreement
or any right or obligation arising hereunder, without the prior written consent of Publisher.



                                                   3
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        8.     Distributor warrants that he/she operates an independent business enterprise,
Distributor exercising sole and exclusive contro l over the manner and means employed by
Distributor in operating his/her business. Consequently, Distributor is and shall remain an
independent contractor, solely responsible for ( l) obtaining and maintaining vehicles used to
perform deli very services; (2) paying all expenses incurred in providing delivery services; (3)
selecting and controlling the means, facilities, tools and equipment used to perform delivery
services; (4) hiring, compensating, control li ng and discharging persons utilized by him/her to
provide deli very services; and (5) satisfying all obligations concerning applicable ta'<es to (a)
Federal; (b) State; (c) County; and (d) City Government. In particular, and without limiting the
foregoing, Publisher will not treat Distributor as an employee fo r Federal tax purposes.

        Further, Distributor acknowledges that he/she has neither pa id nor agreed to pay anything of
value for the rights and obligations conferred upo n Distributor hereunder, and that the sole and only
consideration given by either party is set forth within this Agreement.

        9.       As an independent contractor Distributor is not acting for or on behalf of or as an
agent of Publisher and shall have no power, right, or authori ty to bind Publisher in any manner
whatsoever. All persons retained by Distributo r to perfom1 his/her obligations under this
Agreement shall be subject solely to Distributor's control and are selected exclusively by Distributor
at his/her sole liability and expense.

         10.     Distributor acknowledges receipt fro m Publisher of a list containing the locations of
all customers on Distributor' s Routes. Distri buto r agrees that these records are the sole property of
Publisher and that those records shall be delive red to Publisher at any time upon demand and in the
event of the termination of this Agreement for any reaso n. Distributor further agrees that the list
shall not be transferred or exhibited to any other person or firm ; provided however, Distributor may
exhibit the list to any of Distributor's employees or agen ts that require the information therein to
accomplish deliveries under this Agreement. Di stributor ac knowled ges that he/she shall not
acquire, by this Agreement or otherwise, any proprietary interest or any other property right or
interest in Di stributor's Routes or in the list fu rnished Distributor by Publisher. Distributor agrees to
convey all '·new start" requests to Publisher. Distributor also acknowledges receipt from Publisher
of certain property of Publisher, including single-copy keys, locks, apartment keys, slugs and entry
codes, and agrees that this property of Publisher shall be delivered to Publisher at any time upon
demand and in the event of the termination of this Agreement fo r any reaso n.

        11.     In order that Publisher may co mply with the requirements and regulations of the
Audit Bureau of Circulations in its audit of the nature and extent of the distribution and circulation
of Publisher' s newspapers, and in order that Pu blisher may make accurate reports of its circulation
as required by the Postal Laws and Regulations of the United States, Distributor agrees to furni sh
from time to time, upon request by Publisher, and no t later than five (5) days after such request, an
accurate list of his/her customers regularly purchasi ng and/or receiving Publisher's publications as a
customer of Distributor and all collection records fo r said customers. Further, in the event of the
termination of this Agreement for any reason, Distributor agrees to return the Route list and
collection records to Publisher immediately.

       12.     Publisher shall have no liabil ity fo r any loss, damage or expense incurred or caused
by Distributor in the performance of this Agreement. Distributor agrees to defend, indemnify, and
                                                    4
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hold Publisher harmless from any and all liabilities, claims, demands, suits, costs, charges, and
expenses including, but without limiting the fo regoing, attorneys' fees incident to any claim, loss,
damage, or injury to the person or property of Distributor or to the person or property of anyone
injured through the acts or omissions of Distributor or Distributor's agents, employees, or other
persons acting on Distributor's behalf. Di stributor shall carry liability insurance on all vehicles
which may be operated in the performance of this Agreement and general liability insurance
covering all operations and premises, from a company of Distributor's choice, for the duration of
this Agreement. Distributor agrees to provide certificates of insurance to Publisher as evidence of
such coverage, and proof of a valid and current driver's license. In addition, Distributor agrees that
he/she will carry workers' compensation insurance for his/her employees, if any, in accordance with
applicable state law. The foregoing indemnification obligation of Distributor in this paragraph shall
survive the termination of this Agreement, until the expiration of any time period established by law
for bringing claims, demands, or legal proceedings with respect to which indemnification may be
claimed under this paragraph. Moreover, for the duration of this Agreement, Distributor agrees to
maintain on-route accident insurance coverage fo r Distributor and Distributor's substitute(s) while
they are performing services under this Agreement. Distributor may either (i) elect to be covered
under the on-route accident insurance policy offered to Distributor by a third party company, which
is made available through Publisher or (ii) elect to procure and maintain equivalent on-route
accident insurance coverage from a third party company of Distributor's choice. Distributor shall
indicate which ~ese two options Distributor has selected by marking the applicable box below:

       (i)    !If Distributor electsto be covered by the on-route accident insurance policy made
                  available through Publisher.

       (ii)   D   Distributor elects to procure and maintain equivalent on-route accident insurance
                  coverage from a third party company.

        In the event that Distributor elects option (ii) above, Distributor will provide Publisher with
certificates of insurance evidencing that such insurance coverage has been procured and will be
maintained by Distributor for the duration of this Agreement. Distributor agrees to furnish at its
expense all required business licenses or regi strations .

        13 .    Within thirty (30) days of the termination of this Agreement by either party,
Distributor will transfer to Publisher all moni es that Distributor has received in advance from
customers on his/her Routes for future sale and delivery of Publisher's publications, to the extent
that Distributor has not yet fulfilled his obligations to those customers for future prepaid deliveries.
Publisher shall hold said prepayments in trust for the respective customers of Distributor until such
time as a new distributor shall contract to asswne the Routes, at which time Publisher shall transfer
said prepayments to the new distributor. Thj s provision is for the benefit of both the respective
customers on Distributor's Routes and the new distributor who will fulfill the future delivery
obligations represented by such prepaid amounts, and under no circumstances shall any such
prepayments become the funds or property of Publisher.

        14.   Distributor may engage in any other business or employment, including the delivery
or sale of other publications or products, so long as it does not interfere or conflict with the
performance of Distributor's obligations under this Agreement; provided, however, Distributor shall
not stamp upon, attach to, or insert in copies of the newspapers and/or publications received from

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Publisher any advertising matter not furni shed by Pub lisher nor shall Distributor insert such
newspapers and/or publications within any imprinted wrapping, covering, or container not furnished
by Publisher.

        15.     Distributor shall not use any trademarks, trade names, slogans, or logos owned by
Publisher without Publisher's prior written consent. In particular, but without limitation of the
generality of the foregoing, Distributor may not di splay the name of any of Publisher's newspapers
on any vehicle owned or used by Distributor.

         16. In the event that a customer on Distributor's Route(s) registers or makes a service
complaint with Publisher relating to delivery of the customer's newspaper, Distributor agrees to pay
Publisher the applicable fee described below for each suc h occurrence, to compensate Publisher for
Publisher's costs and expenses associated with rectifying such complaint. In that regard, Distributor
will be charged a fee of $2 for each complaint by a customer of a missed delivery. Distributor will
be charged a fee of $4 for each complaint by a customer for any of the following: late delivery,
incomplete newspaper, tom or damaged newspaper, newspaper not tubed or wrong placement of
newspaper, wet newspaper, wrong newspaper or issue delivered and/or failure to deliver any non-
daily publication or supplemental product provided by Publisher. Moreover, in the event that a
representati ve of Publisher delivers a newspaper to a customer on Distributor's Route(s) in response
to a service complaint received by Publisher, Distributor agrees to pay to Publisher a delivery
charge of $2 , in addition to the foregoing fee(s), to compensate Publisher for Publisher's costs and
expenses associated with making such delivery. Distributor recognizes that starting delivery to new
customers and administering customer vacation requests to the satisfaction of customers are both
important results Distributor is to achieve under thi s Agreement. In the event that Distributor fails
to start delivery as requested by a customer or fai ls to administer vacation requests as requested by a
customer, Distributor agrees to pay Publisher a fee of $5 for each such occurrence, to compensate
Publisher for Publisher's costs and expenses associated with such failure. Moreover, should
Distributor default in the performance of this Agreement in any particular, Publisher may forthwith,
and without notice, make other arrangements to effect delivery of the newspapers to subscribers on
the Route(s), and all costs or expenses incurred in making such deliveries shall be deducted by
Publisher from Distributor's compensation and/or from the bond or deposit established under
Paragraph 19 herein.

        17.    The following are Distributor's Minimwn Performance Standards in effect as of the
execution of this Agreement:

         Customer Complaints: No more than 1.5 complaint(s) per thousand newspapers delivered.

        In the event Distributor fails to meet the Minimum Performance Standards as set forth
above, Publisher will notify Distributor of such failure and will provide Distributor an opportunity
within seven (7) days to correct the notified defic iencies. In the event Distributor fails to correct the
notified deficiencies, Publisher may immediate ly terminate this Agreement. Publisher may adjust
the above minimum standards or add additional minimum standards upon at least thirty (30) days
advance written notice to Distributor.

      18.      It is mutually recognized that customer satisfaction is an essential element of this
Agreement. It is further recognized that Distributor's failure to deliver his/her Route(s), or failure to
                                                    6
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provide adequate notice of his/her intent to term inate this Agreement as required by Paragraph 20(a)
below, would significantly impair Publisher's ab ility to ensure delivery of its publications to its
customers, and that Publisher's damages in this respect are difficult to calculate precisely. It is
therefore agreed that in the event Distributor fail s to deliver his/her Route(s), or ceases to perfom1
delivery services under this Agreement without first complying with the requirements of Paragraph
20(a), Publisher may charge Distributor, as liquida ted damages, an amount o f ~ for each and
every day that Distributor is in default of his/her deli very obligations, up to a ma,x imum of thirty
(30) days, which amount is a reasonable estim ate of Publisher's damages. These liquidated
damages may be charged against and deducted from Distributor's security bond or security deposit
as established under Paragraph 19 herein. Further, in the event that the security bond or security
deposit is not sufficient to satisfy the amount of liquidated damages due to Publisher from
Distributor hereunder, Publisher may pursue payment of such additional amounts which are due and
payable through any and all available legal action.

        19.    ~ A     •   NIA

       Distributor agrees to secure payment of all sums that may become due and payable by
Distributor to Publisher under the terms of this Agreement, in one of the following two ways:

      (a)     DISTRIBUTOR will obtain a security bond in the amount of$ / 500°            (J    from
a company of DISTRIBUTOR's choice, licensed to do business in the State of Arkansas.



       (b)     DISTRIBUTOR agrees to pay a no n-refundable Bond Insurance to PUBLISHER
               with a company of PUBUSHER's choosing. For Bond Insurance in the amount of
               $ J5C)0° t>   , the amount of $ 3 7 S    will be charged to DISTRIBUTOR's
               account each billing period. PUBLISHER will not be responsible for any error in
               rates or charges beyond sixty (60) days.

Publisher shall not be limited to such security for any damage caused by or amounts due from
Distributor.

         20.    Unless terminated in a manner prescribed below, this Agreement shall continue in
full force and effect as stated in Paragraph 22 herein. Moreover:

         (a)    Either party may terminate this Agreement, with or without cause, upon at least
thirty (30) days advance written notice to the other party.

         (b)    Publisher may terminate this Agreement without prior notice upon Distributor1s
falsification of any report submitted to Publisher, commi ssion of any wrongful act resulting in loss,
damage or injury to Publisher, or any failure to satisfy the Minimum Performance Standards under
Paragraph 17, and either party may terminate this Agreement without prior notice upon any breach
of the terms of this Agreement by the other party.

       (c)    Publisher may terminate this Agreement or suspend its performance hereunder
without prior notice in the event Publisher's faciliti es are damaged or destroyed or Publisher's

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                  performance hereunder is prevented or hindered by labor disturbances, including but not limited to
                  strikes and picketing, or by acts of God, the elements, order of government, civil or military
                  authority, or any other cause (whether similar or di ssimilar to the above mentioned) not within the
                  reasonable control of Publisher. Additionally, Publisher's obligations hereunder are expressly
                  conditioned upon publication. In the event Publi sher terminates publication of any of its
                  newspapers or ceases to publish any editions thereo f, this Agreement may be terminated by
                  Publisher in its entirety during the period of time there is no publication or may be terminated
                  ratably, to the extent of any cessation of publication of any edition thereof.

                         21.     This Agreement, including the Schedules attached hereto, is intended as the final ,
                  complete and exclusive statement of the terms of the part ies' agreement. This Agreement cannot be
                  modified in any respect except in writing signed by Distributor and Publisher's Circulation
                  Manager. Publisher does not waive any contractual provision herein by failing to enforce it.
                  Additionally, the parties agree that this Agreement, including the Schedules attached hereto, shall
                  supersede all previous contracts or agreements, whether written or oral, between Publisher and
                  Distributor.

                          22.      Subject to being earlier termi nated as provided in paragraph 20 of this Agreement,
                  the initial te rm of the Agreement shall commence on fe6rvary                27       ,
                                                                                                        2020 and shall
                  continue for an initial one (1) year period thereafter.            The Agreement will subsequently
                  automatically renew for successive periods of one ( l ) year each unless either party gives advance
                  written notice to the other party of that party' s dec ision not to renew the Agreement at least thirty
                  (30) days prio r to the end of the then current term, in which event the Agreement will terminate at
                  the end of the then current;enn.


                                                                                          te




                                                                                       Date         /

                      THIS CONTRACT AND AGREEMENT NOT BIND ING ON PAXTON MEDIA GROUP
                                 UNLESS SIGNED BY ITS CIRCULATION MANAGER
                                                  OR HOME DELIVE RY MA.NAGER


                                         TION MANAGER/HOivIE DEL1VERY MANAGER




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                                                                                         Jo 11cs 1Jo r o Sun -

                                                                 Schedule of Wholesale Rates:
      Wh o les al e
             Rat e                                          ruhli cc1 ti o n Nc1 111 e                               r re(l uency                                          no ut e
$                        per ho me -delivery co py o f        SUN                   de liv ered as a             SH                         sub scri pti o n o n Ha ut e             lt7
$     , L/(YYJ           per home -delivery copy o f          SlJN                  d elivered as a              STWTF                      subscription on Houle                    r rr ·
$                        per home -delivery copy of           SUN                   de livered as a              s                          subscription on Haute                    ~71 ·


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                                                         Sch e d u le o f Ra t es :
    De livery Fe e                                          Pu bli ca ti on Nam e                                Rout e
$                        per home-de livery copy of                                 delivered on Haute
$                        per home-delivery copy of                                  deli vered on Hout e




    Distr ibut o r




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         Pax ton     i\ledia Group _ _ _ __ _              ("Publisher"). and 51:tA\JOt-J!)/\~                                                                         C:f
("D istributo r")ha ve entered into the follo\ving contract and agreement ("Agreement"), in
consideration-of their mutual promises o.nd agreements .

                 WHERE .-\S , Publisher mo.y from time to time require the services of an independent
business enterprise to deli\·er the ne\\ spo.pers it publishes; and

          WHEREAS , Di stributo r \.vo.rran ts thot he.'she operates an independent business enterprise
\.\ hich is c::i.pable of pro\·iding. and desi res to pro,·i de, the aforementioned services to Publisher;

       ~O\V, THEREFORE , for and in consid eration of the mutual promises, warranties and
undertakings of the p::i.rties. it is agreed as follovvs:

            1.      Distributo r shall be prim::iri ly responsi ble for the satisfactory deli \·ery of designated
publications and products in the nonexcl usi\.e territories which are listed on th e Schedules which
o.re att::i.ched to this Agreement and which are inc orporated herein by specific reference elsewhere in
this Agreement. Each tenitory is referred to herein as a '"Route" and collectivel y JS '·Routes''. It is
agreed tlnt Publ isher may sell its ne\.\ spopers directly to customers on Distributor's Routes.
Further, Publisher resef\ es the rig ht to modify c1nd change the Routes indicated on the Schedule(s)
upon at leo.st thi rty (30) days ad,·o.nce written notic e to Distributor. Distributor agrees to deliver
newspapers recei\ed from Publisher as soon as practicable after the del i\·ery of said newspapers
from Publisher to Distributor.

                ,                       0         A*          •          N.'A*

                 (a)    Publisher agrees to sell and Distributor agrees to purchase as many copies of
Publisher ·s desi gnated home delivery publications as Distributor shall req uire to fulfill the
obli gati ons created by this Agreement. together \.\ ith such additional quantities of such ne,vspapers
as Di strib utor shall order from time to time. Title to newspapers shall pass from Publisher to
Distributor immediatel y upon Publish er"s delive1)' of the newspapers to the mutuo.lly agreed-upon
pickup point, at which time Distributor assumes the risk of loss regarding damaged, destroyed,
stolen. lost or unsold newspapers c1nd all credit risks respecting pa1men ts by persons served by
Di stributor.

                (b)      Distributor c1grees to purchase newspapers received by Distrib utor pursuant to
Paragraph .?.(a). at the wholesale rates in effect at the time of sale. The wholesale rates which are in
effect at the time of the execution of thi s Agreement are indicated in the "Schedule of \Vholesale
Rates."\\ hich is attached hereto and incorporated herein by this reference.

                (c)    Distributor agrees to pay in full for newspapers received from Publisher
pursuant to Paragraph .?.(a) by the 10th day of each month. Failure to pay in full by the specified
date shall be deemed a material breach of this A;rreement. AS __ service charge will be issued on
all returned checks. and payments thereafter must take the form of a money order or cashier's
                                      -
check . It is agreed that Publi sher shall ha ve the riclit to modify the wholesal e price or rate for
                                                                                                                                                           -       '



* Check the "_-1,.·· bo\ if the p3r::igr3ph is applicable to the Di stributor and the ·'N.A" box if the parJgrJph is not
applicable to the Distributor
* rh~, •l.. -   rl,~ .. .\ •· h ."' .... ; r , i,..:. ..., ., .. ................... 1..   ; •• ,.. __ 1 : ....... 1....1 •• -   ·'- • r-.. : . . . ·1 .       .
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ne\\Sp::ipers sold to Distributo r under this A.grecrne nt from time to time, such modification to the
wholes::ile rate bein g effecti \ e thirty (3 0 ) days aft er notice of the rate change is g:i \·en to Distributor.
On all acco unts not p::iid by the due date, interest at a rate up to the amount pem1itted by applic::ible
state l::i \ \ m::iy be cha rged from the due d::i te to the date paid .

        3.       •   A    O!',;.'A                                                                                    r
           Pub lisher agrees to supply Distri butor \\ ith copies of Publisher"s design ated home deli\·ery
publicati ons for distributi on by Distributor pursuant to the terms of this Ab'Teement. All
public::itions recei \ed by Distributor pursu::int to this Paragr::iph 3 are and sh::ill rem::iin the exclusi\·e
property of Publisher. .-\ ccordingly. Distrib utor shall have no risk of loss regarding such
publications and al l credi t risks respecting payments by customers for publicat io ns, if any. shall
rern::i in with Pub lisher. Ho we HT. no thin g herein shall limit Distributor' s liabi lity to Publisher for
the value of publ icJtions which Jre dam::iged. destroyed. stolen or lost after receipt of such
publicJtio ns from Publisher and pri or to deli\·ery by Distributor. Distributor agrees that Distributor
\Yill not set the price. if any. of public1tio11s del i\·ered pursuant to thi s PJrngrJ ph 3 and that
Di stributor \\·ill not charge customers or ::i nyo1, e other th::in Publisher for th e deli\ery of public::itions
pursu:rnt to thi s P::i r::igr::iph 3. Publi sher shall p::iy Distributor the fees ind icat ed in the ··Schedule of
Deli\ery Fees:· \\ hich is att::iched heret o ar,d incorporated herein by this reference. for distribution
of home de livery publications by Distributor pursuant to this Paragr:1ph 3. Publi sher shall h::ise the
right to modify the fees in the Schedule of Deli\·ery Fees. any such ch::inge being effecti\·e upon
thirty (30) d::iys ad, ance \\ ritt en notice to Di stributor. The p::irties agree th::i t Distributor's
remuner::ition und er this Par::i gr::iph 3 is directly rebted to Distributor's outpu t rather th::in the
num ber of hours of work perfom1ed by Di stri butor.

        4.       0   A   •   N 1A

         Pub lisher \\ ill from time to time desiginte products. such as post it notes and product
s::imples . for deli very on Distributor ·s Route(s) ::ind Pub lisher will p::iy Distributor a fee. which sh::ill
be ddermined and estJblished by Pu blisher on ::in ongoing basis. for e::ich pro duct delivered by
Distributor pursu:1:1t to this Paragraph 4. The p::irt ies agree that Distributor's rernun er::ition under
th is Paro.gr::iph -1- is directly rel:J.ted to Di stributl•r's output r::ither than the number of hours of work
performed by Distri buto r.

        ).       0 A     •   !',;A

         Distributor recogniz es th::it Publisher mJintains contr::icts with other pub lishers reg::irding the
distribution of their public::itions o.nd that Publisher does not own such public::i tions (collectively
--Non-owned Publ ic::itil1 ns .. ). Th e '\'on -owned Public::itions, and the fee p::iy::ible fL)r the delivery of
e::ich such publica tio n. are listed on the Schedule of Non-owned Publications \\ hich is attached
hereto and incorpor::ited herein by this reference. Publisher \.viii from time to time design::ite Non-
owned Publ ications for delivery on Di st1i butor' s Route(s) and Publisher agrees to pay Distributor
the applic::ib le delivery fee. indic::ited on the Schedule of Non-ov,;ned Publications, for each copy of
the applicable !',;on -owned Publication \\ hich Distributor delivers on the Route(s ). Distributor
agrees to begin deli\ering any such designa ted Non-owned Publications on the Route(s)
imm edi ately upl,n notific::ition from Publish er th::it the Non-mvned Publication has been designated
for deli very on the Route(s). All !',;on-owed Publications received by Distributor pursuant to this
Paragraph 5 are not and sha ll not be the property of Distributor and Distributor shall have no
                                                        ;
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O\\ncrship interest in those publications. .~ccordi ngly. Distributor shJll hJ \e no risk of k)ss
reg:irdin g such :\on-o\, ned Pub!icati ons :rnd sh:ill ha,·e no credit risks respecting pa:;vments by
customers for ?\ on -owned Public ati ons. if any. Ho,\·e,·er. nothing herein shal l limit Di stributor's
liability to Publi shc:r for th e, alu e of :---;on-O\\ ned Publications which are damaged . destroyed. stolen
or lost after rec eipt of such :\'on-O\\n ed Publications from Publisher and pri or to delivery by
Distributor. Di stributor agrees that Distributor \\·ill not set the pric e. if any, of Non-owned
Publications deli \ ered pursuant to thi s Par:igraph 5 and that Distributor will not charge customers or
anyon e ot he r th:in Publisher for th e deli \-ery of publ ications pursu:int to this Par:igraph 5. Publisher
shall ha\e the righ t to modit~ the fees in the Sched ule of i'.'on-owned Publications. any such ch:rnge
being effe ctive upl•n thirty (30) d:iys :id\ :ince \\ ritten notice to Distributor. Th e parties agree th:it
Di strib ut or's rem unerati on under this P:ir:igraph 5 is directly related to Di stributor·s output rather
th:in the number of hours of work perfonned by Distributor.

        6.       •   A   •   ?\ 'A

        Distrib uto r acknc1,, ledge s receipt fr om Publisher of a list of locations ,, here bundles of
ne\\·spapers ("~e\\ sp:iper Bu ndles ") ar·e tc1 be drop ped (--Drop Locations··) . Dist ri butor agrees to
deliver all ?\'e,,·spJper Bundles to Drop Loct1t ions according to the tenns of thi s Agreement. All
ne,\ spapers in :\e,, spJper Bundles Jre Jnd shall remain the exclusi,·e property of Publisher :rnd at
no time shall Dist ributor h:i,·e title to those ne\, spJpers or Newsp:iper Bundks. However. nl•thing
herein shJl ! limit Distrib utl•r ·s li:ibili y to Publisher for copies of newspo.pers an d or tL) r :'\e\vspJper
Bundles. c!Jm3ged. destroyed. swlen or lost Jfter receipt of same by Di stributor an d before deli\ ery
to Drop Locat ions. Distributor sho.ll not in,pos e any charge for ddivery or other servi..:es related to
the distribution of :'\e\\ spa per Bundles J pJrt from the fees indico.ted in this pJrJ.graph which are
payable from Pub lisher to Di stributor.

                ·s ,SOOO   per del i,-ery to J Dro p Location when there are between _ _ and
                _ _ Drop Locations on the Rou te .

        6A        DISTRlBUTO R ah'Tees to purcho.se s:iid r.ewspJpers for distribytj n, in newspaper
rJcks from P UB LI SHER at the \, holesci le rJtes of        1(//0....
                                                                   per d:iily and /l/J vi per Sund:iy
copy. It is ::igreed th:it DISTRIB LT OR \\i ll furni sh locks for said ne,\·spaper r cks located within
their APR.

          Publisher shJ ll ho.\ e the right to mod ify the fee(s) set forth above, any such change being
effecti\·e upon thi rty (3 0) d:iys advJnce written notice to Distributor. The p::irties agree that
Dis tributl) r· s rem unc:rati on under this P::iragr::iph 6 is directly related to Di stributor's output rJther
than the number of hciu rs of \\Ork perforn1ed by Distributor. Distributor s!1J!l :ilso pick up and
del i\ er to Pub lisher unsold ne\\SpJ.pers being retu rned to Publisher by single cop y distributors.

          7.      Di stributor will pro\ ide. at hi s. 11er own expense, a substitu te of Distributor's choice
c:ip:ib le of perfonning the obligJti ons o f Distributor hereunder in the event o f Distributo r's illness,
dis:ib ility or absence. or if fo r :iny other re:iso n Distributor is un:ible to perforn1 his.11er
responsibiliti es under this Agreeme nt. Add itil~ n:i ll y. Distrib utor agrees not to ass ign this Agreement
or any right or oblig:itil)ll :irising hereunder. without the prior written consent of Publisher.
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                  Dis tri butL1 r \\ arr:rn ts thJ t he she oper:1tes an independent busi ness enterprise.
Distribuwr e.\ercising SL1 le and ex.clu si\e contro l O\er the m:rnner and rne:rns employed by
Distrib utor in oper:1ting his l1er bu siness . Consequently. Distribuwr is :1nd sh:.111 remain an
independent contrnctor. so lely resp,~ 11 siblc fo r ( I) obt:1ining and m:1int::iining \ ehicles used to
ped-...,nn deli\·ery ser\ices: (~) p::iyi ng all c.\penses incurred in pro\ iding deli\ery ser.ices : (3)
sekcting and cont ro lling the n1e:111 s. f:i ci lities. tools and equipment used to perfo rn1 deliwry
ser.ices: (4) hiri ng. compens:iting. con tro lling and discharging persons ut ilized by him11er to
pro \i de deli\·ery ser\·ices: :ind (5) satisfyin g all obligations concerning :1ppli cabk ta.\es to (a)
fe der:1!: (b) State: (c) County: CJ. nd {dJ City Go\ernment. In particular, and \\ithout limiting the
fo regoing. Publish er \\i ll not treat Dist ri but or ::is :111 employee for Feder:11 tn purposes.

        furth er. Distributor ::icknO\\ led ges th at he she has neither paid nor ::igreed to pay an::,1hing of
\alue for th e righ ts and ob lig:itions confen-ed upon Distributor hereunder, :1nd th::it the sole and only
con sideration gi H.'n by either party is set fo rt h \\it hin th is Agreement.

          9.      As an independent co ntr::i ctor Di stributor is not acting for or on behalf of or as an
::igent of Publisher and sh :11 1 hJ\ e no p O\\ er. righ t, or Juthority to bi nd Publis her in any m:inner
\\ h::itsoeve r. All persons rct.:1ined by Dist ri buto r to perfom1 his he r oblig:itions under this
Agreement shall be subject solely to Distribu tor's contro l and an~ selected e.'<clusi\ ely by Distiibutor
at his.her so le liability :1nd expense.

           10.     Distribuwr acknO\\ ledges rec ei pt from Publisher of a list cont::iining the loc:::itiL,ns of
all cus tomers on Distti butc1 r" s Routes. Di st rib ut,, r agrees th:1 t these recL1 rds are the sole propeny of
Publisher CJ.nd that thL1 Se rec ords sh:ill be de)i\ ered to Publisher at any time upl,n demand CJ.nd in the
e\ ent of the tenn i,ntion of this Agreement for any reason. Distributor fu rther agrees that the list
sh:11 1 not be transferred or exhibited to any other person or finn: provided however, Distributor may
exhibit the list to any of Distr1butor's em ployees or agents that require the in fonn:1tio n therein to
accompl ish deli\ eries unda this Agreement. Distributor acknO\\ led ges that he. she shal l not
acquire. by this Agreement or oth en\·ise. any proprietary interest or any other property right or
in te rest in Distributor's Rout es or in the list furni shed Distributo r by Pub lisher. Distri buto r agrees w
con\ey .:1!1 "'new st::in"' requests w Publi she r. Di stri butor also ackt11..)\\ledges recei~~t f;:orn Publisher
of cen::i: n pro pert y of Publisher. including sin gle-copy keys. locks. apartment keys. slugs and entry
codes. and agrees that this property of Pu blisher shall be delivered to Publisher at any time upon
dema nd and in the event of the tenninati on of thi s Agreement for any reason .

           11.     In order th:::it Publisher 111::iy comp ly with the requiremen ts and regul::itions of the
.--\udit Bureau of Circu!J tions in its audit of th e na ture and ex.tent of the distributi 1..~ n and circulation
of Publisher's new sp.1pers. and in order th Jt Pub lisher m:.1y make accurate reports of its circulation
as required by the Post::il La\vs CJ. nd RegulJt ions of the L'nited States, Distributor agrees to furnish
from time to time. upL1n requ es t by Publi she r. and not later than five (5) days after such request. an
accur::ite li st of his, her customers regu l::irly purchas ing and. or receiving Publisher" s publi c:::iti ons as a
cuswmer of Distribuwr and all collection rec ords for said customers. Fui1her. in the event of the
tenn in.:1 tion of th is Agreement for :1n y re:::ison. Distributor a~rrees to return the Route li st and
collecti on records to Publi sher immediat ely.

       12.     Publisher sh::ill h:1\e no li :1bili ty fo r any loss, damage or expense incurred or caused
by Distributor in the perfonnance of this Agreement. Distributor agrees to defend. indemnify, and
                                                         4
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hold Publ isher hJm1less from :my nnd zi ll liabilities. claims. demand s. suits. cost s. charges. and
e~penses including. but \\ith l) Ut limi ting the fore going. attorneys' fre s incident w any claim. k,ss.
d1mage. or injury tl1 th e perso n or pro pe11 y o f Dis tri bu tor or to the pasc)n or property of anyone
injured through the acts or orn iss il1 ns of Distrib ut l,r or Distributor's agents. emplo yees. or other
person s Jcting on Distributl1 r's behal f. Di stribu tor shall carry liab il ity insurJ nc e on all \·ehides
\\ hich may be operated in the perfo nnan ce of this Agreement and genaal li::ibi lity insurance
co , eri ng all operatio ns and prem ises. fr om a cc, mpany of Di stributor·s choice. for the duration of
thi s Ab-rreernent. Dist ri butl, r agrees to pro\ id e certificates of insurance tL1 Publ isher as e\idence of
such CO \ rage. and proof of a \ alid and current dri\·er's license. In addition. Dis tri butor agrees that
he .she \\ill carry \\ Orkers ' compens::iti on insurance for hi s her empl oyees. if any. in accordance with
applicable stat e ]J\\. The forego ing indemnifica tion obl igation of Distributo r in this paragraph shall
suf"\ i\ e the tenni natio n of this Agreemen t. un til the expiration of any time peri od established by la,,
f;__,r bri ngi ng: clai ms . dem :mds. or legal proceed ings with respect to \\ hich indem nification may be
clo.imed under th is paragraph. \[ oreo\er. fo r the dur:ition of this Agreement. Di stributo r agrees to
maintain on-route accident insurance co\·erage fo r Distributor and Distrib·..:tor' s substitute(s) whi le
they are perfo nning ser,ic es un der this .-\greement. Distributor m::iy either (i ) elect to be CO\ered
under the on-rou te :iccident insurance policy offered to Distributo r by a third p2 r1 y company. \\hich
is made a\ailabl e th ro ugh Publish er or (ii) elect to procure and nuin t:iin equi\:ilent on-route
accident insurance CO\·erage from a thi rd party company of Distributor·s choice. Distributor sh::ill
indicate \\hich of these t\\ O opti ons Distri bu tor h::is selected by m::irking the applic ::ible box. belo,Y:

        ( i)      D   Dist1ibutor elects to be CO \ ered by the on-route acciden t insurn1ce pl,licy m::ide
                      a\ ::ii lab le through Publisher.

        (ii)      D Dist1i buk1 r elect s to pn,cure :ind m:J.int:iin equi\·:ilent on-ro ute :icciden t insurance
                      CO\ erage from a thi rd party compan y.

            In the e,·en t that Distributor elects opti on (ii) abo\e. Distributor wi ll pro\·i de Publisher with
cert i ti ca tes of insur:i nce e, idencing th::it such insurance co,·erage h::is been procured and \\·ill be
m:iint:iined by Distri buto r t~, r the dur:ition of this .-\~'Tee:nent. Di stributc1r agrees to furnish at its
e\ ~,e nse :il l required business licenses or regis trat io ns.

        1.3.      Wi thin thirty (.3 0 ) d1ys of the tennin:ition of this Agreement by either party.
Dist ri buk, r will tr:i ns fer w Publisher all monies th::it Distributor h::is recei\ ed in adrnnce from
custome rs on his.11er Routes t~, r futu re sale and del i\·ery of Publisher· s publicat ions , to the extent
th::it Distributor h:is not yet fulfil led his obl ig:i tions to those customers for future prep:iid deliveries.
Publisher sh::ill hold s::iid prepaym ents in tru st fc,r the respective customers of Di stribu tor until such
time :is a ne\\ dist1ibutor sh:ill con tract ll, assu me the Routes. at which time Publisher shall tr:insfer
s:.1id prep aym ents to the ne\, d istributl) L This proYisio n is for the benefit of both the respecti\·e
cu stomers on Distributl,r' s Rout es and the new distrib utor \\ ho wi ll fulfill the future delivery
oblig::itions represe nted by such prep:.1i d amo unts. and under no circumst:inces sh:::ill anv such
prep:i:rnents becom e the funds or property of Publisher.

        1--1- .   Di stri butor m::i y eng ::i ge in an y other business or emplo:ment. incl uding the delivery
or sale of other public:::iti ons or products. so long as it does not interfere or conflict with the
perfonnJ11Ce of Di stributo r's ob lig:itions under this Agreement: provided. however. Distributor shall
nl)t st:::imp upo n. attach to. or inse11 in copies of the newsp:::ipers and. or publications received from

                                                          5
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Publisher any ad \ertising matter not furn ish ed by Publisher nor shall Distri butL• r insert such
newspapers and or publicat ions\\ ith in o.ny imp1-inted \Happing. co\·ering. or Cl•l1[Jiner not furnished
by Publisher.

         15 .    Distributor sho.11 not use any tro.demarks . trade n::imes. slogans. or logos O\\ned by
Pu bl isher without Publisher's pr·ior \Hi tten consen t. In p::irticular. but \\ ithL• Ut limit::ition of the
genero.lity of the foregL•ing. Di stributor mJy not disp lay the name of :m y of Publisher"s new sp::ipcrs
on o.ny Hhic le O\\ ned or used by Di stributor.

          16. In the e,ent thJt J cu stomer on Distributor's Route(s) regi st ers or makes a ser,.-ice
complaint with Pu blisher relating to deli\ery of the customer's newsp:iper. Distr-i butor agrees to p:iy
Publisher the Jpp licJble fee described bel l•\\ fo r each such occurrence. to co mpe nsate Publisher for
Publi sh er" s costs and expenses o.ssociated \\ith rec tifying such complaint. In tho.t regard. Distri butor
\\ill be charged a fee of S2 L, r e:ich compl :iint by o. customer of a mi ssed dcli\ery. Distributor \\i ll
be charged a fee of s..i f,)r each cornpl::iint by o. customer for any of the following: bte deli\·ery.
incomplete newspap er. tL• m or d::1111:1ged ne\\ sp:1per. newspaper not tubed or \\Tong placement of
ne\\Sp:1per. \\et nc \\·spaper. \\Ton g ne\\·sp J per or issue delivered and.or failure to dcli\er any non-
do.ily publico.tion or supplement:il product pn_     , \ided by Publisher. \loreo\er. in the event tho.t a
repres en tati \ e of Publisher deli\ ers J ne\\S paper to a customer on Di stribu tor" s Route( s) in response
to a ScTY ice com plaint rece i\ed by Publi she r. Distributor abrrees to p:1y to Publ isher a delivery
charge of S2 . in addition to the f1.1 regoi ng fee (s). to compenso.te Publisher for Publ isher·s costs and
expenses associated \\ith rn::i king such de]i\e ry . Distribuwr recognizes tho. t st:1ni ng deli\ery to new
custL)mers and ad ministering cu stome r \ o. cJt ion requests to the s::itisfaction of customers are both
impon::int results Distri buto r is to o.chie\ e under this Agreement. In the e\ ent th::it Distributor fails
to stJrt de]i\·ery as req uest ed by o. customer or fails to administer nco. tion requests as requ ested by a
custom er. Distributor agrees t..:1 po.y Publisher a fee of S5 for eo.ch such occurren ce. to compens::ite
Publ isher fr, r Publisher ·s costs an d expen ses :issoci:ited with such f:ii lure. \k,reo\·er. should
Di stributL1r default in the perfom1::ince of this Agreement in any p::irticubr. Publis her may fL,rth \\·ith.
anJ \\ ithout 11L•tice. make oth er ana ngernents w effect deli\·ery of the new spapers to subscribers on
the Routd_s). and all costs or ex.penses incu rred in mo.king such deliYeries sh::i!l be deducted by
Publishe r frn rn Di stributor" s cornpensatiL,n and. or from the bond or depl)Sit established under
Po.rJgraph 19 herein.

        17.    The fol lo\\ ing are Di strib utor's \ linim um Perfomunce StJnd::irds in effect as of the
execution of this Agreement:

         Customer Compbints: ?\ o more th:rn 1.5 compbint(s) per thous::i nd ne\\Spapers del ivered.

          In th e e\ent Di stributor fails to meet the :--linirnum Perfonnance St::indards as set forth
abo\e. Publ isher will nL•tify Di stributor of such fa ilure and will provide Distribu tL• r :in opportunity
\\i thin sewn (7) days to correct the no tified deficien cies. In the event Distributor fails to correct the
notified deficiencies. Publisher m:iy immed i:itely terminate this Agreement. Publisher may adjust
the :ibl)\ e min imu m stand::irds or :idd additional minimum stand::irds upon at least thi rty (30) days
advo.nce written noti ce to Distribu tor.

      IS .     It is mutu:.1lly recogni zed th:it custo mer s::itisfaction is an essential element of this
Agreement. It is further recognized th:.it Di stribu wr's failure to deliver his,l1er Route(s). or failure to
                                                      6
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pro,ide JdequJte not ice o f his l1er intent to tcm1in J te this Agreement as required by PJr:i. grJph 20(a)
bek,w. wou ld signifi c:rntly imp::iir Publisher"s ::ib ility to ensure deli\·ery of its publicat ions to its
customers. :ind th:i.t Publisher·s d::im:iges in this respect are difficult to calcul:i.te preci sel y. It is
therekire :i.greed th::it in the e, ent Distri bu tor foils to deli\·er his.her Route(s). or ce::ises to perfonn
delin-ry ser,:ices under thi s ..-\.greement \\· ithout firs t complying \\·i th the requirements of Paragraph
20( a) , Publisher m;:iy ch;:irge Di st ributor. as liquid ::ited dam:i.ges. an amount of _ _ for e:i.ch and
e\ery d:1y that Distributor is in default of his her deli,ery oblig:i.tions, up to a mni mum of th irty
( 30 ) d::iys. \\hich :i.mount is J reason::ible estinute of Publisher's dam::iges. These liquidated
dam::iges m::iy be ch::irged ag::iinst and deducted from Distributor's security bond or security deposi t
:is est:i.blis hed under P::ir::igr::iph 19 herein. Fu 11her. in the e\·ent that th e security b'-1 11d or security
depos it is not su fficient to s::itisfy the :i.rnount of liq uid:1ted d:1m : 1 ges due to Publisher from
Distri butor hereunder. Publisher m::iy pursue pJ)rnent of such :i.dditic1n::1l :i.mounts \\ hich are due and
p:i.yable thro ugh any and all J.\ ::iilable leg::il action.

        19.      •   A   •   ~ ·A

          Dist ributor a_s'Tees t~1 secure p::iyn,ent of all sums thJt may becL1 1~1e due ::ind pay::iblc by
Dist ri butor to Pub lisher under the tenns of this Agreement. in one of the follO\\·ing t\\ L, \\·ays:

        (::1)    DISTRIBLTOR \\ill obtain a secu1ity bond in the amoun t of S             S eo oo
                                                                                               -           from
a cornp::iny of DISTRIBL.TOR ·s clwice. licens ed to do business in the St:ite of ...\rbns as.



        (bl     DISTRIB UTOR :i.grees to p:iy a non -rdund:ibk Bond Insurance to PLBLISHER
                \\it h ::i co1ppany of Pl'B LISHER' s. choos in~. For B1.,nd Insur:ince in the ::i.mount of
                S ,y_;o CV . the :i.mo unt of S /           J~    will be charged t1.1 DIST RIBUTOR ·s
                account eJch billing period . PL'. BLISH ER \\ill not be resp1.1nsibk fi_ , r any em,r 111
                r::ites or ch:irges beyond sixty (6 0) days.

Publi she r shJ!l not be lim ited to such secunrv fo r anv damage c::iused bv or a;i-10u nts due from
Di stribu to r.

             20.    l ·nless ter,nin:ited in a m::inner prescrib ed belo'.v , this ...\greement shall continue in
fu ll f'-1 rce and effec t as stated in Paragnph 22 herein. I\!oreo\er:

         (a)      Either p::irty m::i.y tc:rn1i nate thi s Agreement. with or without cau se, upon at least
thirty (30) d::iys advance written notice to the other party.

          (b)    Publi sher ma y tem1in:ite this ,..\greement \\ithout pri or nL1 tice upo n Distributor's
folsificJtion of any rep o11 submitted w Publisher. commission of any wrongful act result ing in loss.
dJm:ige or injury to Publisher. or any failure to s::itist':' the \linimum Perfonn ~mce St:rnd:irds under
Par:1gr:1 ph 17, and ei th er party may tenn in::ite this Agreement without prior notice upon any breach
of the tenns of this A_s.rreernent by th e other party.

        (c)    Publ is her ma y tenninJ. te th is Agreement or suspend its perfom1ance hereunder
wi thout prior notice in the e, ent Publ isher's fociliti es are d::im::iged or destroyed or Publisher's

                                                        7
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 perfonnJnce hereunder is p1·e, en ted or hillciered by L1b1..,r disturbJnces . includi ng but not limited to
 strikes and picketin g. or by act s of God. the elements, order of go, emment. ci, ii or military
 Juthority. or an y oth er cau se ( wheth er simib r or diss imilar to the abo\ e mentic1nt'd) not within the
 reasonable control of Publis her . .-\ ddit ionally. Publisher's oblig:itions hereunckr :ire expressly
 conditioned upon pu blicat io n. In the e,ent Pub li sher tenninates publicati,,n of an y of its
 newspapers or ceases to publi sh any eJiti ons thereof. this Agreement may be tenninated by
 Publisher in its entirety during the peri 1.,. d of time there is no publication or may be tenninated
 rat:ibl y. to the exten t of any ces sation of publ ic ati on of any edition thaeof.

            2 I.     Th is .-\ brreement. inclu dillg th e Sc hedules attached hereto. is inte nded JS the final.
 complete and exc lusi, e statement of the tenm of the parties' agreement. Thi s Agreement c:rnnot be
 modified in a.ny respect except in ,1riti ng sign ed by Distribuwr :ind Publi sher's Circubtion
 \l a. n.1ger. Publisher d1.., es n1..,t \\ ai, e any cont ra. ctual pro\·ision herein by fr1iling to enforce it.
 .-\ dditi o nally. the parties asrree th .1t th is Agreem ent. incl ud ing the Schedu les attached hereto. sh.11 1
 supersede all pre, ious contracts or agree mell ts . ,, hether \\·ritten or ora.l. bet\\ een Publisher and
 Distributor.

            ' 1    Su bj ect to be ing earlier tem1inated as pro\ ided in pJrJbrr::i.p h .2 0 of this .-\b-rreement,
th e initi:il tem1 of the Agreement sh all co mmence on cJ~-f-- l.j                            . 2020 and shall
continue for an in iti JI, ore ( 1) ye::ir paiod there:ifter.he .-\greement will subsequently
autom::iticJ!!y rene \\ fo r successi\ e peri1..,ds of one (I) ye:ir each unless ei th er p~my giws adY::i.nce
\\ritten notice to the other pJrty of th::i t p:iny' s decisio n 111..)t to renew the Agreem ent at least thirty
(3 0 ) dJys prio r 11.., the end of the th ~n cunent te m1. in wh ich event the Agreemen t \Yill tennin::i.te at
the end of the then cu1Ten t tenn .,
   >)/_ . _/ / ~I I           /
~ l (('!.~:t:K{-__,f-:f:'c/ f
~0 1stn butor I.S1~narure
        ~         ~         I
                            \....      L



Pri nt 1\ame


Phone ~o .


  epresen t:itive of Paxton i'vledia Group

     THIS co:--:TR.-\CT .-\:--:D AGREE:\IE~T :\OT s r:--:DNG 0><' P.-\..'<:TO\/ ;\[[ DIA GROUP
                     L~        S S!G:--:E    Y !TS CIRCULATIO~ MANAGER
                                 OR       \!E DELIVE RY r-.L\SAGER


                                    \: ;\l.-1.:-: .-1.GER HO\IE DE LIVERY ~L-\~AGER




                                                         8
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.,

                   I:\DEPEi\DEi\T CO:\TR..\CTOR DISTRIBUTOR AGREEMEi\T
                                      Paxton i\ledia Group
                                              (Bundle Delivery)
                                                                             I   ,
     PAXTO:-.' i\1EDIA GROUP , ("PUBLISH ER"), and'S):µ1J11d ~fl}(           t-6
                                                                               ("DISTRIBUTOR"),
     have entered into the following contract and agreement ("Agreement"), in consideration of their
     mutual promises and agreements.

            \VHEREAS, PUBLISHER may from time to tim e require the services of an independent
     business enterprise to deliver the ne\vspaper it publishes; and

             WHEREAS, DISTRIBUTOR warrants that he/she operates an independent business
     enterprise which is capable of providing. and desires to provide, the aforementioned services to
     PUBLISHER;

            NOW, THEREFORE, for and in considera tion of the mutual promises, warranties and
     undertakings of the parties, it is agreed as follo\v s:

            1. .   DISTRIBUTOR shall be pri maril y responsible for the distribution of newspapers for,
     Jonesboro Sun & Paragould Daily Press to the follo\ving towns and/or areas:




                                       &T /71
             this being DISTRIBUTOR's Area of Prim::iry Responsibility ("APR"). PUBLISHER
     reserves the right to modify the boundari es of DISTRIBUTOR'S APR upon at least thi rty (14) days
     advance \vritten notice to DISTRIBUTOR.

            '       DISTRIBUTOR acknO\vl edges receip t from PUBLIS HER of a list of locations
     where bundles of ne\vspapers ('"Ne\vspaper Bu ndles") are to be dropped ('-Orop Locations") and
     DISTRIB UTOR ackno,vledges that he/she shall not acquire, by this Agreement or other.vise, any
     proprietary interest or any other property right or interest in the APR or the list of bu_ndle Drop
     Locations furnished DISTRIBUTOR by PUBLISHER.

             3.     DISTRIBUTOR agrees to deli ver all Ne\vspaper Bundles to Drop Locations
     according to the terms of this Agreement. All newspapers in Newspaper Bundles are and shall
     remain the exclusive property of PUBLISHER and at no time shall DISTRIBUTOR have title to
     those ne\vspapers. Ho ,vever, nothing herein shall limit DISTRIBUTOR'S liability to PUBLISHER
     for copies of newspapers and,'or for Newspaper Bundles, damaged, destroyed, stolen or lost after
     receipt of same by DISTRIBUTOR and before delivery to Drop Locations. DISTRIBUTOR shall
     not impos e any charge for delivery or other services related to the distribution of newspapers or
     Newspaper Bundles apart from the fees indicated in this paragraph \vhich are ayable from
     PUBLISHER to DISTRIBUTOR. ·
                                                                                          EXHIBIT

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       Case 3:21-cv-00015-BSM Document 1 Filed 01/15/21 Page 32 of 40



                            lodl                                                             I
                        S _ ~ - - - per deli,-ery to a Drop Location ,,hen there are between __
                        and li_ Drop Locatio ns in the APR.

        PUBLISHER shall have the ri ght to modify the fee(s) set fo rt h above, any such ch:mge
being effective upon thirty (30) days ad vance written notice to DI STRIB UTOR. The p::irties agree
that DISTRIBUTOR'S remunerati on unde r this p::iragraph 3 is directly rebted to DISTRIBUTOR'S
output rather than the number of hours of work performed by DISTRIBUTOR.

         4.      DISTRIBUTOR shall also pick up and deliver to PUBLISHER unsold ne,vspapers
being retu rned to PUBLISHER by single cop y distributors. DISTRIB UTOR sh::ill be respon sibl e
for deli vering all such returned newsp::ipers according to the Annual Return Schedule. The Annual
Return Schedu le is a part of this Agreement and is incorporated by reference herein .

        5.       DISTRIBUTOR agrees to furni sh at DISTRIBUTOR'S expense all required business
licenses or registr::itions, and public liab ili ty and property d::image insurance with a company of
DISTRIB UTOR'S choice. DISTRIBUTOR further agrees to furnish PUBLISHER with certificates
establishing that such insurance is in force and effect, that the premi ums hc1ve been paid, and thc1t
the same ,vill not be amended, cancelled, terminated or revoked ,vithout ten ( 10) days advance
written not ice to PUBLISHER.

        6.     DISTRIBUTOR warrants thJ t he/she operates an independent busi ness enterprise,
DISTRIB UTOR exercising sole and exclusi ve control over the manner and means employed by
DISTRIB UTOR in operating his/her bus iness. Consequently, DISTRIB UTOR is and shall remain
an independent contractor, solely responsible for (1) obtc1ining and maintJi ning vehicles used to
perfonn deli\·ery services; (2) paying all expenses incurred in providing delivery services; (3)
selecting and controlling the means c1nd foci Ii ties used to perfo rm ddi very services; (4) hiring,
compensating. directing and discharging persons utilized by him/her to provide deli very services ;
and (5) satisfying all obligations concerni ng applicable taxes to (a) Federal; (b) State; (c) County;
and (d) Ci ty Government. In particuLir, and without limiting the foregoing. PUBLISHER will not
treat DISTRIBUTOR as an employee for Federal tax purposes with respect to the services provided
by DISTRIB UTOR pursuant to this Agreement.

       7.       DISTRIBUTOR shall not assign thi s Agreement, or any p::irt hereof, without the
prior written consent of PUBLISHER.

        8.        DISTRIBUTOR may engage in any other business or emp loyment, incl ud ing the
delivery or s::ile of other publications or products, so long as it does not interfere or conflict \vith the
performance of DISTRIBUTOR's obli gations under this Agreement; pro vided , howeve r,
DISTRIBUTOR shc1ll not stamp upon. attach to, or insert in copies of the newspapers or Nev.:spaper
Bundles rec eived from PUBLISHER an y advet1ising matter not furnished by PUBLISHER nor
shall DIST RIB UTOR insert such ne\vspapers, or Newspaper Bundles ,vithin any imprinted
wrapping. covering, or container not furni shed by PUBLISHER.

       9.      DISTRIBUTOR shall not use any tradem::irks, trade names , slogans , or logo s o,vned
by PUBLIS HE R ,vithout PUBLISHER'S pri or written consent. ln particul ar, but without !imitating
the foregoing, DISTRIBUTOR may not di splay the term Jonesboro Sun on any vehicle ov,:ned or
used by DISTRIBUTOR.
                                                     2
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          10.      DISTRIBUTOR agrees to defend , indemn ify, ::ind hold PUBLISHER hannless from
any and all liabilities, claims. demands, suits, costs, charges . and expenses includ ing. but without
limi ti ng the fo regoi ng. attorneys' fees incident to an y claim, loss, damage, or injury to the perso n or
propert y ot· DISTRIBUTOR or to the person or property of anyone inj ured th rough the acts or
omissi ons of DISTRIBUTOR or DISTRIB UTOR's agen ts. empl oyees. or other persons acting on
DISTRIB UTOR'S behalf. DISTRIBUTOR sha ll co.rry· suffi cien t liability insurance to reo.sonabl y
assure DISTRIB UTOR'S ability to satisfy the indem nity obligation arising hereu nder, including
public licib ility and property damage insurcince maintained at hi s or her own expense on all vehicles
which may be operated in the performance of this Agreement. In addition, DISTRIBUTOR agrees
that he/she will carry workers' compensation in surance for his.'her employees, if an y, in accordance
with the laws o f the State of Arkan sas.                The foregoing indemni fication obligation of
DISTRIB UTOR in this para 6rraph shall survive the tennination of this Agreem ent, until the
expiration of any time period established by law for bringing claims, demands, or legal proceedings
with reps ec t to which indemnification may be claimed unda this paragraph .


        11 . DISTRIBUTOR \vill pro vide, at his/her own expense, a substitute of
DISTRIB UTO R'S choice capable of perfom1ing the obligatio ns of DISTRIBUTOR hereunder in
the event of DISTRIBUTOR'S illness, disability or absence, or if for any other reason
DISTRIB UTOR is unable to perform his/her responsibilities under this Agreement.


       11 .    As an independent contractor, DI SITRIBUTOR is not acting for or on behalf of or as
an agent of PUBLISHER and shall have no power, right or authority to bind PUBLISHER in any
manner \vha tso ever. All persons retained by DISTRIB UTOR to perfo nn his/her obl igations under
this Agreement shall be subject solely to DI STRIBUTOR 'S control and are selected exc lusively by
DISTRIB UTOR at his,11er sole liability and exp ense .

         13.    Unkss terminated in a manner prescribed below, thi s Agreement shall cont inue in
full force and effect as stated at paragraph 15 herein. i\!oreover:

       (a)    Either party may terminate this Agreement, with or without cause, upon thirty (30)
days advance \vritten notice.

      (b)      PUBLISHER may term inate this Agreement ,vithout pn or notice upon
DISTRIB UTOR'S falsification of any report submitted to PUBLISHER, commi ss ion of any
wrongful act resulting in loss, dcimage or injury to PUB USHER, or any breach of the tenns of thi s
Agreement.

        (c)     PUB LISHER may tennimte this Agreement or suspend its perfonnance hereunder
without pri or notice in the e\·ent PUBLISHER'S facilities are d::imaged or destroyed or
PUBLISHER'S perfonnance hereunder is prevented or hindered by L:ibor disturbances, includin g
but not limited to strikes and picketing, or by acts of God, the elements, order of government, civil
or milit:iry authority, or any other cause (v,·hether similar or dissimilar to the abo ve mentioned) not
within the reasonable control of PUBLISHER.


                                                      ,
                                                      .)
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        (d)       It is mutuall y recognized tha t customer sat isfa ction is an essent ial el ement of this
Agreement. It is further recognized that DI STRIB UTOR ' s fail ure to deli\·e r his,'11er ro ute, or fail ure
to pro vide :idequate notice of hi s,11er int ent to tem1 inate th is Agree ment, as required by paragra ph
13 (a) above, wo uld significan tly imp air PUB LI SHER 's abili ty to ensure d·elivery of its
publication(s ) to its customers, and that PUBUSHER ' s d:1m::1ges in th is respect are diffi cult to
calcub te precise ly. It is therefore agreed that in the event DI STRIB UTO R fail s to de liver his:'her
APR, or ceases to perform deli very servi ces unde r this Agreem ent without first complying with the
require1[>~,nts _of paragraph 13 , PUBLI SH_E R ~my _ch;:irge _DIST RIB UTO R _an . amount of
S  (a    7      for each and every day th::it Carner 1s in detau lt of h1 s,·11er deli very obl1 g::1t 1ons, up to a
maxi mum of 30 days, which amount is a reason::ibl e est imate of PUBLISHER's da mages.

          14.     Thi s Agreement is intended as the fin al, compl ete and ex.e lusive st;:itement of the
tenns of the part ies' agreem ent. This Agreemen t cannot be modi tied in any respect except in
writing signed by DISTRIBUTOR and PUBLISHER'S Circ ubt io n i\bnager. PUBLISHER does
not \\.:ai\·e any contractual provision herein by fai ling to enfo rce it. Additionally, the parties agree
that th is Agreement shall supersede all previous contrac ts or agreements, 1,,vhether written or oral,
betv,;een PUB LISHER and DISTRIBUTO R.

           15.   Th is Agreement shall remain 111 effe ct for the foll owing period, subjec t to the
qualificati ons fo und m paragraph 14, begin.ni ng           V\ -Jo..
                                                                    I (, - , 20AQ_ and ending
  ]":ct,, V) , j 6          ' 20_BL.

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DATE                              ~                   f:oRo/rvtf
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                     THIS co:-:TR.'-\CT AND AG REE:V! ENT NOT BI:-I DG G o:---;
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                      UN LESS SIGNED BY THE CIRCULAT lO ~ DIRE CTOR
                                     FOR TH E JON ESBORO SW


By: - -- -- -- - - - - - - -- - - - - - -- - - - - - - --
                    CIRCULATION DIRECTOR




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                     l\DEPE~DE\T CO\TR.1- CTOR DISTRII3lTOR AGREE.\IE.\T
                                                         (Per Pi ece)


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 _         PAXTO:---; :\IEDL<\ GROU~,
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:rid agreement ("A 2 eernent") , in cor.sid~rJtion of their mu:u:i! ;xornises :ind ;:i:;ree11:ents.

           WHEREAS, PUBLISHER may from time to time require the sef\ ices of ;:i n independent business
e:1tc:rpri se to deli\er the newsp;:iper it publishes; and

          \\'HERL\S, DISTRIBUTO R wa:.Jn ts th :it he 'she oper:ites an in dependent busi ness enterprise
\\·hich is c::ipcible of providing, and desires to provide\ t;ic aforementioned sef\·ices to PUBLI SHER;

        ~OW, THEREFORE, for and in consider::ition of th e r:1uru::il promises, warn nties and
undc:rtakings of the p::irties, it is agreed as foll ows :


          1.      PUBLISHER ;:igrc:es to supply DfSTRJBUTOR \\i th as m::iny copies of PUBLISHER's
ne\\Sp:ipe,s :is DISTRJBUTOR shall require fulfilling the oblig:irions cre::ited by this Agreemer.t. All
produ•~rs dcliwred pursuant to this Agreeme nt are ;:ind sh:ill wn:iin the exclusive property of the
PUBLIS HER. Accordingly, all risks of loss reg ::i rd in g such products and all credit risks respecting
payr;1en[s by custom ers sh::ill rem ai n with the PUBLISHER: pro\·ided. howewr, th::it no thing herein sh:ill
affect DlSTRIBUTOR's li::ibility to PLTBLIS I-fER for :iny ne gligent or \Hongfu! ac t pri or to de!i\ery of
nc:\\Sp:ipcrs by DfS TRlB UTOR. DISTRIB UTOR agrees rim DISTRIBUTOR will not set the p;-ice of
newsp.:ipers deliwred a:1 d th:it DISTRIBUTO R shall r. ot ch ::i rge cus:o rn ers or an yor.e other rh:rn
PL'BLISHER for th e deliYery of ne\\·sp;:ipers pursu:int to this par:ign;:ih. The p:irties specifically agree
th::it DISTRIBUTOR wi!l del iver said ne\\·sp:ipers recei\ed from the PCBLISHER as soon as pnctic:ible
after deli\ ery of s::iid ne\\ sp.1pers from PGBLISHER to DISTRIBUTOR.


          1      DISTRIB UTOR sh:ill be pri,mri ly respor.sible for the s::irisfocto rv del iwry of Tlrt!
Jonesboro                                                                          ' u __
                  in the territory k.nO\\·n as subscrip tion delive ry route ---'-----'-_7
                  S1111
                                                                                           - __ _ _ _ , ths
being Dl STRIBUTOR's Area of Prim::iry Responsibility ("A.PR" ). PUBLISHER resm es the ri;ht to
r.1odify the boundcir1es ofDISTRIBUTOR's AP R upon at le:1s, fourteer,, ( 1-i) d::i:;s :idnnce \\Titte:1 notice
to DIST RIBUTOR.


          _, .            PCB USHER agrees to pay DISTRIBU TO R the follo,\ in~ fees fo r home deli wry of Tir e
Jvnesboro Sun :

 1   d.{60          per Daily and Sunday copy
 ' ;z_ ,5 ~ '-(     per Frid;:iy.1Saturday.'Sund;:iy (Weekend) copy
 ,3~6~              per Sunday/r.-fonday cop y
 , }Je,~o           per S:1turd:1:;-/ Sund:1y 1l\1ond:1y copy
 ,41 60             per Sunday only copy


          3.-\.  In the event DISTRIBUTOR is respons ible for delivering newspapers to PUBLI SHER' s
(cor:1.pany) news r::i cks. news dealers or bulk'hotel :iccounts in DISTRlBUTOR's APR, PUBLISHER will
compen s:ite DISTRlBUTOR for those deliveries in the following manne r:
                                                                                                               EXHIBIT
                          s   AJ/4         per company ne\\·s rack p.:r day.
                                                                                                        I
                          s   }!I/{{
                                 I
                                           per company news dealer/ bulk / hotel account per day.
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           DiSTR IB L: TOR sh:ill be respons ibk for t'1c bJ sis: :.1 ;:;x:.1~J:1s:e. ckJ:'.i:ness Jn J t'.1J i:,:c1,J~.cc o:· J!l
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turn ed in ::it le:.1 st once per week .


 .         ~8       D!STRIBuTOR Jg;-ees to pu rchJJ s::iid nc:-.1 spJ;:,ers for dis:r 61;rio n in newsp:iper r:i cks
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fo r ne11sp:.1pers sol d co DISTR1B UTOR under thi s ...\GR..EE\[E\'T , s:iiJ modificJ: ion to \\hol es Jk rJte
bein g effect i••e fourte en ( 1-+ ) days after notice o Cr:i te ch:inge to D [ST R.IB UTO R.


         -+ .    DISTRIBGTOR, as an ince per.cknc co1~trnctor. i,p-ees co deli ,er :ill pub lic:itio ns other
th:i n Tiu: Jun.: sboro Sun furnished by PUBLISHER for cist ribu tio n in DlSTRIB UTOR's ...\PR.
PUBLI SHER J:!fces to p::iy DISTRIB UTO R for s"Jch deli,eries in the follo,,in g m:inner:


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            :-:-.     DI STRIBUTOR ag:-ees co furnish Jt its e\ pense Jll re quired busi ness licenses or
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choic e. D!STR.IBL;T OR further a;rees to furnish PliBLJSHER "i[h cc:ni:1cJ [cs estJb!is hing ch:H such
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DISTRJBCTOR \\ J ITJ:1ts th::i t he she oper:1 :c:s a:, indeper,den bus iness en:crprise . DISTR.IBUTOR.
e\crcisin:; so le and ex.clusi\·e control o\·er the m:inne r :.1:id meJns empk)yed by DIST RIBUTOR in
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c,x .! ~Jct or. sL1lely responsible for ( l) obui ning: and 1~1Jir,t:1ining \chicles us ed to perfor.n deli,·ery
servi ces: (2) pJyir-, g a!! expenses incurred in pro, id ing deli,ery senicc:s: t3) selecting and concrollin g the
meJns :ind f.lci!i:ies used to perfonn del iwry sen·ices; (•) hiring. compensJti ng. cont~ol ling Jnd
di sch:irg ing: pers ons uti lized by him'her to pro \ ide de\i,ery Sei"\ices : and (5) s:.1tis fying J]l oblig:itions
cor.cern ing ::ii'.'pli c:i ble tnes to (a) Feder:il ; (b ) StJ[e; (c) Cou nty ; ::ind (di City Go vern ment. h p:.1nicul:ir,
a::',d with out limi ting the forego in g. PCBLISH ER II ill n~,[ tre:it DISTRJBUTOR as an er:1pl oyee for
feder:il ux. purposes .

           6.        The parties ag:-ee thJt effect i, e JS of the dJ[e DISTR1 BUT OR signs the Agree1r.ent (th e
--Effrcti1.e D:ice"). :.111 p;1yments to DISTRIB UTOR from PUBLISH ER pursuJnt to the! Agreement shJII
be 111:ide 1,j3 electronic tr::insfcr of funds (" EFT" ) to either the b::ink ac count of DISTRIBUT OR ('·Direct
Depos:t") or to a debit CJ rd ,,hicl1 c::in be p1·0\ ided to DISTR!BL1TOR ("Debit Card" ). The Direct
Deposit arongerr.er. t slull be subject to and go \ emed by the tenns a:id conditio ns of the tin:incial
inst itu tion :i nd. or entity which pro\idt!s th:H Direct Dc:posit arr:ingement :ind the Debit C.i rd shJ! l be
subject to :.1,1d gowmed by the terms and cond it io ns o f the finJnciJI inscirurion and or enti ty 11·hich
pro\idc:s rlnt Debi t Card .
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DISTRIB UTOR a:io1e. The parties specificJ lly a;ree th:it as of the Effecti,e D:1te. EFT sh JI! be th e sole
method of paynent to DISTRIBUTO R and no physic:1 I pa:11,e11ts. ir:clucir:; checks. sh:ill be nn::!e to
DlST RIB Li TOR by PUB LISHER.


             7.          DiSTRIBUTOR ag;-ees thJt the re cords o: subscribers on said rc1 u,e uc the sole propen y
ot· PL"BLISHER Jnd that sJ id reco rcs sh:ill be dcli,ered to PUBLISHER at :iny time upon de:11:ind :ind in
the e1e nt or tc>nnin:itio n of thi s Agreement for :iny re:ison. DISTRIBUTOR :1;-rees th:it the route list sh:ill
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to any of DISTRIBUTO R' s employees or :igc-nts tlut require the infor.::ari on there-in to del1wr
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             S.       DISTRJBL'T OR. c pon r~ce i,· ir.~ c!el i\ e,y :1:,d ti.let ,, s:iic r.e\1 ; ~,_i ~ers. sh::ill bcJr the :-: s\..:
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bind PLBL!SHE R i::i any 1,1J nne, 11hatSL1 e1e r. the sole puf?~' Se of thi s .-\.;-reemer,'. . ir.sofa r as
PCBLI SHER is cor,cerned. being to pro1i de for the s:il e of its ne-.1sppers for rc- s:ile and di st ri bution to
ulti rr.:itc cor.su mers. the re:iders. All person s reui:1ed by DISTRIBUTOR to perfonn his 11er oblig:iti01~s
und er this .-\.greemc-r.r sh:ill be subject solely to DISTPJBUTOR.'s cont rol :ind a~c> selected c\clusi1el y by
DISTRIBUTOR :it his.her sole liJbility and expense.


          9.       The following are DISTRIB UTOR 's r:,iniErnm perform:incc stJnd.irds in e tfrc t JS of the
e'l:ecu:ion of this Agreement:

           Customer Com pbi n ts: :\ o more than 1.5 0 compL!ints per th ous:rnd ne11sp:1per s ddi1ered .

           In the> e1cnt DISTRIBUTOR fa ils to meet the minim'..lm perfonnJnce stJ nd:ird s 35 set fonh
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          Case 3:21-cv-00015-BSM Document 1 Filed 01/15/21 Page 38 of 40



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         Case 3:21-cv-00015-BSM Document 1 Filed 01/15/21 Page 39 of 40


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